Filed 01/28/16                                 Case 15-14228                                            Doc 57


                              UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF CALIFORNIA
                                        CIVIL MINUTES


    Case Title :       Oscar Gutierrez                                Case No : 15−14228 − B − 13
                                                                         Date : 01/28/2016
                                                                         Time : 01:30

    Matter :           [29] − Motion/Application to Dismiss Case [MHM−1] Filed by Trustee Michael H. Meyer
                       (dchf)


    Judge :            Rene Lastreto II                     Courtroom Deputy : Jennifer Dauer
    Department :       B                                            Reporter : NOT RECORDED


    APPEARANCES for :
    Movant(s) :
    None
    Respondent(s) :
    None



    HEARING was :




    The trustee's motion has been withdrawn.
